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 1 DANNY B. SCHULTZ, SBN 196232
   809 Montgomery Street, 2nd Floor
 2 San Francisco CA 94133
   Telephone: 415/394-3800
 3 Facsimile: 415/394-3806

 4 Attorney for Defendant
   JEREMY TERRELL
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 7
                          UNITED STATES DISTRICT COURT
 8
                        EASTERN DISTRICT OF CALIFORNIA
 9

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12 UNITED STATES OF AMERICA,                 No. CR: 10-CR-00477-LKK-4

13              Plaintiff,
                                             STIPULATION AND ORDER RE:
14                                           MODIFICATION OF TERMS OF
          v.                                 PRETRIAL RELEASE
15

16 JEREMY TERRELL,

17              Defendant.

18                                /

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          IT IS HEREBY STIPULATED between Plaintiff, United States,
20
     through their attorney of record, Assistant United States
21
     Attorney Michael D. Anderson and Defendant, Jeremy Terrell,
22
     through his attorney, Danny B. Schultz, with the approval of
23
     United States Pretrial Officer Renee Basurto, that Special
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     Condition of Release #11, be removed in its entirety.            Special
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     Condition of Release #11 states:
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     Case 2:10-cr-00477-MCE Document 171 Filed 09/10/12 Page 2 of 2


 1        You shall participate in a program of medical or
          psychiatric treatment, including treatment for drug or
 2        alcohol dependency, as approved by the pretrial
          services officer.
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 4
     Respectfully Submitted,
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 6
   /S/MICHAEL ANDERSON                       /S/DANNY B. SCHULTZ
 7 MICHAEL ANDERSON                          DANNY B. SCHULTZ
   Assistant U.S. Attorney                   Attorney for Defendant
 8                                           JEREMY TERRELL
   Dated: September 7, 2012                  Dated: September 7, 2012
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11        IT IS SO ORDERED.

12        Dated: September 10, 2012

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14
                                 /s/ Gregory G. Hollows
15                       UNITED STATES MAGISTRATE JUDGE

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